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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

Jeremy Story and Dustin Clark,   §            NO. 1:22-CV-448-DAE
                                 §
            Plaintiffs,          §
                                 §
vs.                              §
                                 §
Hafedh Azaiez, et al.,           §
                                 §
            Defendants.          §
________________________________ §


           ORDER GRANTING IN PART AND DENYING IN PART
                DEFENDANTS’ MOTIONS TO DISMISS

            Before the Court are three Motions to Dismiss Jeremy Story (“Story”)

and Dustin Clark’s (“Clark,” and together, “Plaintiffs”) First Amended Complaint.

(Dkt. # 20). The first motion was brought by Defendants Jeffrey Yarbrough,

James Williby, Lauren Griffith, Milton Pope, Frank Pontillo, and Samuel Chavez

(Dkt. # 25); the second by Defendants Amber Feller, Tiffanie Harrison, Amy Weir,

Jun Xiao, Cory Vessa, and Hafedh Azaiez (Dkt. # 26); and the third by Defendant

Round Rock Independent School District (Dkt. #27). The Court held a hearing on

Defendants’ Motions to Dismiss on April 11, 2023. After careful consideration of

the memoranda filed in support of and in opposition to the motions, as well as the

arguments advanced at the hearing, the Court GRANTS IN PART and DENIES

IN PART Defendants’ Motions to Dismiss.
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             Plaintiffs’ Application for Preliminary Injunctive Relief is also before

the Court. (See Dkt. # 20 ¶¶ 258–76.) Pursuant to Local Rule CV–65, “[a]n

application for a temporary restraining order or preliminary injunction shall be

made in an instrument separate from the complaint.” Plaintiffs, who are

represented by counsel, nevertheless included their application for a temporary

restraining order and preliminary injunction in their First Amended Complaint. Id.

Because Plaintiffs’ application does not comply with Local Rule CV–65, the Court

does not reach the merits of the application, and it is DENIED WITHOUT

PREJUDICE.

                                  BACKGROUND

             Story and Clark allege that five trustees, six police officers, and the

superintendent of Round Rock Independent School District (“Round Rock ISD” or

the “District”) committed a host of constitutional violations while conspiring to

deprive Story and Clark of their rights under the First, Fourth, and Fourteenth

Amendments of the U.S. Constitution. (See Dkt. # 20 ¶¶ 5, 6, 181–250.) Plaintiffs

also assert that Round Rock ISD and certain Round Rock ISD trustees violated the

Texas Open Meetings Act. (Id. ¶¶ 246–48, 251–56.)

             The events at issue began in the summer of 2021. That June, the

Round Rock ISD Board of Trustees (“the Board”) held a special meeting and voted

5-2 to hire Hafedh Azaiez as the District’s new superintendent. (Id. ¶ 13.)


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Defendants Amber Feller, Tiffanie Harrison, Amy Weir (who also served as Board

President), Jun Xiao, and Cory Vessa (collectively, the “Trustee Defendants”) all

voted in favor of hiring Azaiez.1 (Id. ¶¶ 10, 14.) According to Plaintiffs, the

Trustee Defendants, “in conspiracy between themselves and others,” had already

agreed to hire Azaiez before the meeting. (Id. ¶ 14.)

               In July, Story learned that allegations of family violence had been

made against the Superintendent by a woman who said that Azaiez assaulted her

after she refused to abort his child. (Id. ¶¶ 16, 17.) That month, the woman

obtained a protective order against Azaiez, and Story and others contacted the

Board via email and social media to inform them of her allegations. (Id. ¶ 19.)

Story sent subsequent emails to the Board urging the Trustee Defendants to resign

and offering video evidence of the protective order being served on Azaiez at the

District’s offices. (Id. ¶ 22; Dkt. # 1, Ex. 6.)

               The Board held a regular meeting in June following Azaiez’s hiring;

the next three meetings in June, July, and August were special meetings. (Id.

¶ 17.) Pursuant to a policy adopted by the Board called BED (Local), public

comment at special meetings is “limited to items on the agenda posted with notice

of the meeting.” (Dkt. # 1, Ex. 2.) At regular meetings, on the other hand, the

Board “shall permit public comment, regardless of whether the topic is an item on


1
    The two trustees who voted against hiring Azaiez have not been sued. (Id. ¶ 9.)

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the agenda posted with notice of the meeting.” (Id.) Story notes that because no

regular meetings were held in July and President Weir refused to call a special

meeting to discuss the Azaiez allegations, he could not speak out about the

allegations at the Board’s meetings. (Dkt. # 20 ¶¶ 16, 24.)

             Story and Clark’s constitutional claims arise from two Board meetings

that took place in August and September.

I.    August Board Meeting

             On August 16, 2021, the Board held a special meeting concerning two

agenda items: (1) COVID-19 Employee Leave, and (2) Fall 2021 COVID-19

Health and Safety Protocols. (Id. ¶ 30.) Round Rock ISD Police Detective

Sergeant Lauren Griffith was in the parking lot outside the meeting and had been

warned of Story’s approach by the Trustee Defendants and other officers stationed

outside the building. (Id. ¶¶ 32, 33.) Before the meeting’s public comment

session, Round Rock ISD Chief of Police Jeffrey Yarbrough approached Story and

demanded that he leave the meeting room so that they could speak outside. (Id.

¶ 34.) After Story refused several times, Yarbrough “unconstitutionally threatened

Story in furtherance of the conspiracy.” (Id.)

             When Story approached the podium to speak at the public comment

portion of the meeting, President Weir “[tried] to stop Story from beginning . . . his

speech and even asserted at one point . . . that she did not want to allow him to


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even demonstrate whether his comments were going to be germane.” (Id. ¶ 35.)

After Story attested that his comments were relevant to the agenda, Story began

delivering his comments:

        Today I speak on the rule of law, I don’t envy your choice today. I
        trust that most people value each other even though they are on
        different sides of the issue, I also understand the seriousness of the
        COVID epidemic. I understand the rule of law, yet several members
        of this board and Superintendent have another utter disregard for the
        rule of law. Today you are considering thwarting the Governor’s
        order and the legislature and the Supreme Court of Texas. This will
        result in tremendous fines to the district. Even today, you violated the
        rule of law by putting officers in the back of this room in the difficult
        position of being asked to illegally enforce a last-minute violation of
        the Open Meetings Act. An agenda item today includes a resolution
        which includes 80% of the text concerning itself with the safety of
        public employees and students. The resolutions being considered
        today include statements like, “the Board of trustees has a substantial
        public interest in protecting the health and safety of students and
        community.” It talks about “supervision of the Superintendent” and
        even other things related to public health and public safety. Several of
        you have demonstrated strong disregard for the rule of law. You
        consider public safety today by violating the Supreme Court of Texas.
        Still more, our Superintendent has a protective order filed against him.
        ...

(Id.)

              When Story mentioned the protective order involving Azaiez, he was

interrupted by President Weir. (Id. ¶ 37.) Without being allowed to explain “how

his speech was related to the agenda items,” Story was approached from behind by

Round Rock ISD Officers Milton Pope and Frank Pontillo, who, “in conspiracy

with Weir,” grabbed Story’s arms and dragged him out of the meeting. (Id. ¶ 37.)


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Trustees Feller and Harrison agreed with President Weir that Story should leave.

(Id. ¶ 38.)

              Story alleges that other speakers at the meeting who brought up

unrelated topics were given considerably more latitude. (Id. ¶ 40.) For example,

one speaker who said that the Superintendent “assaulted a pregnant girl” was

prevented from speaking further but was not removed by Round Rock ISD police,

though she too attempted to keep speaking. (Id. ¶ 39(d).) Another speaker who

brought up the protective order against Azaiez was cut off, but similarly was not

removed from the meeting. (Id. ¶ 39(f).) Story alleges that he was singled out

because of his work “to raise awareness about Azaiez” and because he was “a

leader of the Board’s critics.” (Id. ¶ 40.)

              In the days following the meeting, Story attempted to file reports and

grievances with various law enforcement entities. (Id. ¶¶ 41, 42.) He submitted a

complaint to the Texas Education Agency and filed a grievance with Round Rock

ISD’s legal department. (Id. ¶¶ 43, 45.)

II.    September Board Meeting

              On September 14, 2021, the Board held a regular meeting. (Id. ¶ 49.)

Although the meeting room had the capacity for 375 persons, only eighteen chairs

(spaced six feet apart) were available for attendees. (Id. ¶ 50.) Attendees were

told that they could view the meeting remotely in the cafeteria. (Id. ¶ 50 n.24.)


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Story and other parents were physically prevented from entering the meeting room

by Officers Pope and Pontillo, while Assistant Chief James Williby watched from

within the Board meeting room. (Id. ¶ 66.) The officers refused to identify who

authorized them to prevent entry, but one officer “nodded to indicate” that

Yarborough was the one who had ordered them to block the doors. (Id. ¶ 70).

              Before the meeting, President Weir announced that the limited seating

was Azaiez’s decision. (Id. ¶ 88.) And then, although Trustee Xiao noted that a

vote regarding seating was not on the agenda and President Weir agreed with this,

the Board voted 5-2 to enforce the 18-chair limit after the Board’s attorney

approved the vote. (Id. ¶¶ 88, 93.) Trustee Defendants all voted for the seating

limit; the other two trustees left the meeting, citing Texas Open Meetings Act

concerns. (Id. ¶¶ 91, 94.)

              Plaintiffs assert that the limited seating rule adopted by the Trustee

Defendants was “mere pretext to keep out the Board’s critics,” particularly since

one of the topics for discussion that night was COVID-19 masking policies. (Id.

¶¶ 59, 60.) Plaintiffs point out that the Board’s seating arrangements had been less

restrictive in the past, even when COVID-19 cases were higher. (Id.) One week

later, on September 22, the Board allowed 300 people to attend the meeting even

though no health authority had announced a change in the COVID-19 threat level.

(Id. ¶ 61.)


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             “As the board meeting started, the police allowed some people in

solely based on the officers’ personal judgment, e.g., one person stated that she

was speaking first. Others were prohibited without any discernible reason.” (Id.

¶ 71.) Clark, who did get a seat in the meeting room, “attempted to instruct the

Board that (1) it was violating the Texas Open Meetings Act multiple times in its

votes on unannounced topics and arbitrary seating rules, (2) the Board had failed to

allow even the 18 chairs to be filled by those who wished to attend the meeting,

and (3) the Board was prohibited by law from raising taxes without allowing public

participation in the meeting.” (Id. ¶ 97.) President Weir then instructed Assistant

Chief Williby to remove Clark from the meeting, and the Trustee Defendants

“seized [the] opportunity to unlawfully vote to set a tax rate.” (Id. ¶¶ 98, 99.)

             Story, meanwhile, attempted several times to enter the meeting room.

(Id. ¶ 72.) Williby instructed another Round Rock ISD policer officer, Officer

Chavez, to provide those who were refused entry with Texas Education Code §

37.105, but Chavez only read out the first portion of the section (a move that

Plaintiffs characterize as “deliberately deceptive”). (Id. ¶¶ 74, 75.) A protracted

discussion about the applicable laws ensued between Story and Officers Pope and

Pontillo. (Id. ¶ 78.) Williby then watched as his officers “bear-hugg[ed] [Story]

around a pole, cutting his back,” and “slammed [Story] to the ground.” (Id. ¶ 82.)




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             At a school board conference after the incident, Chief Yarbrough gave

a presentation about school security. (Id. ¶ 82.) The president of another school

board questioned Yarbrough, concerned that Yarbrough’s tactics were too forceful.

(Id.) Yarbrough admitted that his officers only had typical municipal street patrol

training, not school resource officer training. (Id.)

III.   Story and Clark’s Arrests

             On the night of the September 14, 2021 Board meeting, Story filed a

report with the Round Rock City Police about the actions of the Round Rock ISD

police officers. (Id. ¶ 110.) But by the next morning, the Round Rock Police

Department had decided not to investigate the Round Rock ISD officers “at the

request of Williamson County Attorney Dee Hobbs.” (Id.) Story’s requests that

the Williamson County Attorney’s Office investigate the August and September

incidents similarly went nowhere. (Id. ¶¶ 112, 113, 114.)

             On September 17, 2021, Round Rock ISD police issued arrest

warrants for Story and Clark for the offense of “Hindering Proceedings by

Disorderly Conduct,” a Class A misdemeanor. (Id. ¶ 115.) Story and Clark were

arrested at their homes by several officers from the Williamson County Sheriff’s

Office. (Id. ¶ 116.) Both were jailed, despite Williamson County’s “COVID-19

rule against jailing individuals for minor offenses.” (Id. ¶ 117.) “Plaintiffs later

learned that Azaiez communicated via text and other means with the Williamson


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County Judge and other county officials to encourage the county to arrest

Plaintiffs.” (Id. ¶ 118.)

                               LEGAL STANDARDS

             Federal Rule of Civil Procedure 12(b)(6) authorizes dismissal of a

complaint for “failure to state a claim upon which relief can be granted.” In

analyzing a motion to dismiss for failure to state a claim, the court “accept[s] ‘all

well pleaded facts as true, viewing them in the light most favorable to the

plaintiff.’” United States ex rel. Vavra v. Kellogg Brown & Root, Inc., 727 F.3d

343, 346 (5th Cir. 2013) (quoting In re Katrina Canal Breaches Litig., 495 F.3d

191, 205 (5th Cir. 2007)).

             To survive a Rule 12(b)(6) motion to dismiss, the plaintiff must plead

“enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 570 (2007). “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009). But “the tenet that a court must accept as true all

of the allegations contained in a complaint is inapplicable to legal conclusions.”

Id.




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                                     ANALYSIS

             Plaintiffs have brought claims under 42 U.S.C. § 1983, alleging

violations of their First Amendment, Fourth Amendment, and Fourteenth

Amendment rights. Plaintiffs also assert Texas state-law claims for violations of

the Texas Open Meetings Act (“TOMA”). All Defendants have moved to dismiss

the claims against them, with individual Defendants asserting both immunity and

merits grounds for dismissal. Based on Plaintiffs’ version of events, the Court will

grant in part and deny in part Defendants’ Motions to Dismiss.

I.    First Amendment Claims

             Defendants argue that Plaintiffs have failed to state a plausible First

Amendment claim. (Dkts. # 25 at 15–18; # 26 at 6–18; # 27 at 2–10.) As

Defendants note, Plaintiffs appear to offer six theories in support of their claim that

their First Amendment rights were violated.2 (Dkts. # 25 at 15; # 26 at 6.) The

Court will address each theory in turn.


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  The Court notes that Plaintiffs’ Amended Complaint has elements of at least two
types of “shotgun pleading” that tend to cloud the legal and factual issues in a case:
1) the inclusion of “conclusory, vague, and immaterial facts not obviously
connected to any particular cause of action,” and 2) the assertion of “multiple
claims against multiple defendants without specifying which of the defendants are
responsible for which acts or omissions, or which of the defendants the claim is
brought against.” See Valadez v. City of San Antonio, No. SA21CV0002JKPRBF,
2022 WL 1608016, at *5, *7 (W.D. Tex. May 20, 2022) (quoting Weiland v. Palm
Beach Cnty. Sheriff’s Off., 792 F.3d 1313, 1321–23 (11th Cir. 2015)). As a result,
Defendants and this Court have been tasked with deciphering which claims apply
to the various defendants.

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   A.        Facial constitutionality of the public comment rule in BED (Local)

             Plaintiffs facially attack the BED (Local) rule that provides public

comments at “special meetings” are “limited to items on the agenda posted with

notice of the meeting.” (Dkt. # 20 ¶¶ 183–96.)

             The parties appear to agree that the Board meetings constitute a

“limited public forum,” meaning it “is limited to use by certain groups or dedicated

solely to the discussion of certain subjects.” Pleasant Grove City v. Summum, 555

U.S. 460, 470 (2009) (citing Perry Educ. Ass’n v. Perry Loc. Educators’ Ass’n,

460 U.S. 37, 46 n.7 (1983)). In a limited public forum, the government may

subject speech to valid time, place, and manner restrictions, so long as the

restrictions are both “viewpoint neutral and reasonable in light of the forum’s

purpose.” Fairchild v. Liberty Indep. Sch. Dist., 597 F.3d 747, 760 (5th Cir. 2010).

             In determining whether a restriction is reasonable, viewpoint-neutral

restrictions are considered “more creditworthy” if there are other avenues available

for speech. Christian Legal Soc’y Chapter of the Univ. of Cal., Hastings Coll. of

the L. v. Martinez, 561 U.S. 661, 690 (2010). It is not permissible, however, to

discriminate against speech on the basis of viewpoint. Freedom From Religion

Found. v. Abbott, 955 F.3d 417, 427 (5th Cir. 2020) (citing Chiu v. Plano Indep.

Sch. Dist., 260 F.3d 330, 346–47 (5th Cir. 2001)).




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             The Board has a strong interest in the productivity of public meetings.

Because of this interest, “[c]ourts discussing public comment periods at

government meetings have routinely found that the governing body may restrict

speakers to the subject at hand, impose time limits on speakers, and prevent

disruptions of the meeting.” Wenthold v. City of Farmers Branch, No. 3:11-CV-

0748-B, 2012 WL 467325, at *8–9 (N.D. Tex. Feb. 14, 2012), aff’d sub

nom. Wenthold v. City of Farmers Branch, 532 F. App’x 474 (5th Cir. 2013). As

the Sixth Circuit has recognized, “[u]nstructured, chaotic school board meetings

not only would be inefficient but also could deny other citizens the chance to make

their voices heard.” Lowery v. Jefferson Cnty. Bd. of Educ., 586 F.3d 427, 433

(6th Cir. 2009) (citations omitted). See also Rowe v. City of Cocoa, 358 F.3d 800,

803 (11th Cir. 2004) (per curiam) (“As a limited public forum, a city council

meeting is not open for endless public commentary speech but instead is simply a

limited platform to discuss the topic at hand.”).

             A facial challenge concerns the text of the policy itself, “not its

application to the particular circumstances of an individual.” Freedom Path, Inc. v.

IRS, 913 F.3d 503, 508 (5th Cir. 2019). On its face, the BED (Local) policy is

reasonable. There are other avenues for speech: at regular meetings, BED (Local)

provides that the Board “shall permit public comment, regardless of whether the

topic is an item on the agenda.” (Dkt. # 1, Ex. 2.) For a school board to limit


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discussion at certain meetings “to those subjects that it believes will be illuminated

by the views of others” and thus “best serve its informational needs while rationing

its time” is not unreasonable. See City of Madison, Joint Sch. Dist. v. Wis. Emp.

Rels. Comm’n, 429 U.S. 167, 180 (1976) (Stewart, J., concurring); see also Cox v.

State of La., 379 U.S. 536, 554 (1965) (“The rights of free speech and assembly,

while fundamental in our democratic society, still do not mean that everyone with

opinions or beliefs to express may address a group at any public place and at any

time. The constitutional guarantee of liberty implies the existence of an organized

society maintaining public order, without which liberty itself would be lost in the

excesses of anarchy.”).

             The text of BED (Local) is also viewpoint neutral: it does not

differentiate between speakers’ viewpoints when limiting discussion to the agenda

items at hand. Plaintiffs nonetheless assert that BED (Local) is unconstitutional

because it gives the Board “unbridled discretion.” (Dkt. 20 ¶¶ 190–92, 229–31.)

The Fifth Circuit recently explained that “[u]nbridled discretion runs afoul of

the First Amendment because it risks self-censorship and creates proof problems in

as-applied challenges.” Freedom From Religion Found., 955 F.3d at 427. But

there is “[n]othing unascertainable here to people of common intelligence.”

Fairchild, 597 F.3d at 762. In fact, BED (Local) tracks the language of the Texas

Open Meetings Act, which “protects the right of a ‘member of the public’ to air


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their concerns at public governmental board meetings as long as those concerns are

‘regarding an item on the agenda for an open meeting.’” See TEX. GOV’T CODE

§ 551.007(b).

             Plaintiffs’ facial challenge to (BED) Local therefore fails.

      B.     Constitutionality of the BED (Local) Rule as applied to Story

             Story alleges that the BED (Local) rule, as applied to him, constitutes

impermissible viewpoint discrimination. “Viewpoint discrimination exists ‘when

the specific motivating ideology or the opinion or perspective of the speaker is the

rationale for the restriction.’” Heaney v. Roberts, 846 F.3d 795, 802 (5th Cir.

2017) (quoting Rosenberger v. Rector & Visitors of the Univ. of Va., 515 U.S.

819, 829 (1995)). But there is no First Amendment violation “when the same

result would have occurred in the absence of any illegitimate motive.” Id. (quoting

Lowery v. Jefferson Cty. Bd. of Educ., 586 F.3d 427, 435 (6th Cir. 2009)).

             Again, governmental bodies have a significant interest in conducting

orderly and efficient meetings. “As the Ninth Circuit has explained, ‘the usual

[F]irst [A]mendment antipathy to . . . control of speech cannot be imported into

[government meetings] intact . . . . While a speaker may not be stopped from

speaking because the moderator disagrees with the viewpoint he is expressing, it

certainly may stop him if his speech becomes irrelevant or repetitious.” Fairchild,

597 F.3d at 760. In addition, “[a]n erroneous judgment call on the part of a


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presiding officer does not automatically give rise to liability for a constitutional

tort.” Jones v. Heyman, 888 F.2d 1328, 1334 (11th Cir. 1989).

             The Complaint shows that Story was interrupted by President Weir

when he veered off-topic from the posted agenda items. Because the Complaint

reflects that the same is true for other speakers who veered off-topic from the

agenda items (see Dkt. # 20 ¶¶ 34, 35–36), this cannot sustain Story’s as-applied

challenge to the (BED) Local Rule.

             However, Story also alleges that, unlike the other speakers who

deviated from the posted agenda items to speak about Azaiez, he alone was

“dragged from the podium by police” and ejected from the meeting at the direction

of President Weir. (Dkt. # 20 ¶ 40.) Taking these facts as true and viewing them

in the light most favorable to the plaintiff—as the Court must do at this stage—

Story has stated a claim with respect to his as-applied challenge to the rule.

             Still, personal involvement is an essential element of a civil rights

case. Thompson v. Steele, 709 F.2d 381, 382 (5th Cir. 1983). “Plaintiffs suing

governmental officials in their individual capacities . . . must allege specific

conduct giving rise to a constitutional violation. This standard requires more than

constitutional assertions: the plaintiff must allege specific facts giving rise to the

constitutional claims.” Oliver v. Scott, 276 F.3d 736, 741 (5th Cir. 2002) (citations

omitted).


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              Story’s allegations against many of the Defendants do not meet this

heightened standard, save for the allegations against President Weir and Officers

Pope and Pontillo. The Complaint is completely silent about the actions of Trustee

Vessa, Trustee Xiao, Azaiez, and the remaining Officer Defendants regarding the

application of the BED (Local) policy. With respect to Trustee Feller and Trustee

Harrison, Story asserts that they “stated that Story should leave.” (Dkt. # 20 ¶ 38.)

This is not sufficient. Story’s as-applied challenge is dismissed as to these specific

Defendants.

      C.      Prior Restraint

              Story has failed to allege facts supporting a prior restraint claim. “The

term prior restraint is used to describe administrative and judicial orders forbidding

certain communications when issued in advance of the time that such

communications are to occur.” Alexander v. United States, 509 U.S. 544, 550

(1993) (citation, emphasis, and internal quotation marks omitted). The (BED)

Local policy does not give the Board the power or discretion to prevent

participation during public comment in advance of the actual expression. And

Story has not alleged that the rule prevented him from speaking about an agenda

item—in fact, according to the Complaint, Story did speak during the public

comment session, and was removed when he tried to speak about Azaiez’s

protective order.


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             The BED (Local) restriction regarding agenda items also cannot

reasonably be understood as providing the Board with “undue discretion” to

silence speakers at Board meetings. See Fairchild, 597 F.3d at 762 n.56. The Fifth

Circuit recently explained that the relevant question is whether the rule allows

“undetectable viewpoint discrimination.” Freedom From Religion Found., 955

F.3d at 429. The Court agrees with Defendants that a rule requiring that speakers’

comments must relate to items on the agenda is reasonable, viewpoint-neutral, and

creates no special risk of undetectable viewpoint discrimination. (See Dkt. # 26 at

12) (“It would be easy to detect, for example, if the Board allowed pro-mask

speech but silenced anti-mask speech.”).

             As noted above, “[c]ourts discussing public comment periods at

government meetings have routinely found that the governing body may restrict

speakers to the subject at hand.” Wenthold, 2012 WL 467325, at *8–9 (emphasis

added). Ensuring that meetings are orderly and efficient “necessarily demands that

the moderator exercise some discretion over the number of speakers and the time

allotted for each to speak.” Gilmore v. Beveridge, No. 222CV02032HLTRES,

2022 WL 3139023, at *8 (D. Kan. Aug. 5, 2022) (quoting Lowery, 586 F.3d at

436)). Plaintiffs’ prior restraint claim shall be dismissed.




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      D.     Constitutionality of the seating capacity limitation

             Defendants argue that “social distancing rules, like the one used at the

September 14 meeting,” concern conduct rather than speech. (Dkt. # 26 at 13.)

They also contend that “[e]ven if this rule did somehow restrain Plaintiffs’

protected speech, the Complaint does not allege facts plausibly showing the seating

arrangement was unconstitutional.” (Id.) Plaintiffs respond that the District

“employed an irrational regulation as a pretext in order to strip meaningful

participation from the public during the one meeting a year where a tax hike is

discussed.” (Dkt. # 30 at 15.)

             Restrictions on school board meetings “to protect against a public

health crisis” have been found to “bear[] a strong and rational relationship to a

critical government interest.” See Pete v. Dunn, No. 1:21-CV-546, 2022 WL

2032306, at *5 (E.D. Tex. May 11, 2022), report and recommendation adopted,

No. 1:21-CV-0546, 2022 WL 2001779 (E.D. Tex. June 3, 2022) (finding that a

plaintiff failed to state a First Amendment claim with respect to a school board

meeting held remotely because of a public health crisis).

             Plaintiffs claim that “[a]s the board meeting started, the police

allowed some people in solely based on the officers’ personal judgment . . . .

Others were prohibited without any discernible reason.” (Dkt. # 20 ¶ 71.)

Plaintiffs further state that “Story and others were never allowed to enter the room,


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and some left without being afforded the opportunity to participate.” (Id. ¶ 51.)

Plaintiffs allege that the decision was made by Azaiez, who “knew the politics of

the crowd outside the room on September 14.” (Id. ¶ 62.)

             Taking the allegations in the Complaint as true and construing them in

the light most favorable to Plaintiffs, the Court finds that Story has stated a

plausible claim that the seating capacity limitation, as applied,3 was

unconstitutional. The Complaint alleged that the Board’s seating arrangements

were less restrictive when the rate of COVID-19 cases were higher or the same

(Dkt. # 20 ¶ 61), and that Defendants’ motives in enacting the rule were pretextual.

In addition, whether people could not participate in the public comment portion of

the meeting because of the social distancing rule or because the meeting was cut

short due to “continued disruptions by Plaintiffs and others” (Dkt. # 26 at 13)

involves fact questions that the Court cannot resolve at this stage. The Court finds

that Story has stated a claim against the Trustee Defendants and Azaiez as to this

rule.

        E.   First Amendment Retaliation

             “[A]s a general matter the First Amendment prohibits government

officials from subjecting an individual to retaliatory actions for engaging in



3
 Indeed, Plaintiffs concede that they “are not complaining that a genuine seat
spacing rule is unconstitutional.” (See Dkt. # 28 at 9.)

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protected speech.” Batyukova v. Doege, 994 F.3d 717, 729–30 (5th Cir. 2021)

(quoting Nieves v. Bartlett, 139 S. Ct. 1715, 1722 (2019)). A First Amendment

retaliation claim requires that a plaintiff show (1) he was engaged in

constitutionally protected activity, (2) the defendant’s actions caused him to suffer

an injury that would chill a person of ordinary firmness from continuing to engage

in that activity, and (3) the defendant’s adverse actions were substantially

motivated against the plaintiff’s exercise of constitutionally protected conduct.

Keenan v. Tejeda, 290 F.3d 252, 258 (5th Cir. 2002).

             Plaintiffs have alleged that they were targeted by Defendants and

arrested in retaliation for exercising their rights to free speech and petition. (Dkt.

# 20 ¶¶ 206, 208.) Defendants argue that because a Williamson County magistrate

signed the arrest warrant—and thus Plaintiffs’ arrests were supported by probable

cause as determined by an independent intermediary—Plaintiffs’ retaliation claims

must fail.4 (Dkt. # 26 at 15; Dkt. # 27 at 8.) Defendants also contend that

Plaintiffs were not engaged in constitutionally protected speech. (Dkt. # 26 at 17;

Dkt. # 27 at 9.)




4
 The Court notes that, in some cases, a retaliatory arrest can give rise to a First
Amendment claim even where there is probable cause. See Gonzalez v. Trevino,
60 F.4th 906, 909 (5th Cir. 2023); Lozman v. City of Riviera Beach, Fla., 138 S.
Ct. 1945, 1955 (2018).

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             Clark has not alleged facts sufficient to state a claim that he was

engaged in constitutionally protected speech. Again, according to Plaintiffs, Clark

was removed from the September 14, 2021 Board meeting when, “[d]uring this

meeting,” Clark:

       [A]ttempted to instruct the Board that (1) it was violating the Texas
      Open Meetings Act multiple times in its votes on unannounced topics
      and arbitrary seating rules, (2) the Board had failed to allow even the
      18 chairs to be filled by those who wished to attend the meeting, and
      (3) the Board was prohibited by law from raising taxes without
      allowing public participation in the meeting.

(Dkt. # 20 ¶ 97.) But Plaintiffs do not allege that Clark was attempting to speak

during the public comment portion of the meeting. If Clark was not a recognized

speaker when he was making these comments, he was not engaged in

constitutionally protected activity.5 See Sousa v. Seekonk Sch. Comm., No. 1:22-

CV-40120-IT, 2023 WL 349923, at *9 (D. Mass. Jan. 20, 2023) (holding that the

plaintiff had “not shown a likelihood of success on the merits of his claim that his

speech—which occurred outside of any period where he was a recognized

speaker—was protected”). The right to free speech “does not encompass the right

to cause disruption.” Startzell v. City of Phila., 533 F.3d 183, 198 (3d Cir. 2008).



5
 The BED (Local) policy provides that “[a]udience participation at a Board
meeting is limited to the portion of the meeting designated to receive public
comment in accordance with this policy” and provides for the removal of
disruptive audience members after the disruptive member has received at least one
warning. (Dkt. # 1, Ex. 2.)

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Plaintiffs have not pled facts showing that Clark was engaged in other

constitutionally protected conduct.

             Story, however, has alleged facts sufficient to state a claim that he was

engaged in constitutionally protected speech. An arrest would certainly chill a

person of ordinary firmness from continuing to engage in the protected activity.

Bailey v. Ramos, No. SA-20-CV-00466-XR, 2023 WL 2147700, at *9 (W.D. Tex.

Feb. 17, 2023) (citing Keenan, 290 F.3d at 259). And Story has alleged that his

arrest was substantially motivated by his speech to the Board. Finally, as discussed

in greater deal in Part II(C), Story has adequately stated a claim that an exception

to the independent intermediary doctrine applies. Thus, the Court finds that Story

has stated a First Amendment retaliation claim.

             However, Story has not adequately alleged the personal involvement

of the Trustee Defendants, Officer Pontillo, Sergeant Chavez, or Assistant Chief

Williby. The claim will be dismissed as to these Defendants.

   F.        Right to Petition

             The Supreme Court has recognized that speech and petition rights are

“cognate”—they share “substantial common ground.” Borough of Duryea v.

Guarnieri, 564 U.S. 379, 388 (2011). Yet courts “should not presume there is

always an essential equivalence in the two Clauses or that Speech Clause

precedents necessarily and in every case resolve Petition Clause claims.” Id. at


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388. Rather, “[i]nterpretation of the Petition Clause must be guided by the

objectives and aspirations that underlie the right. A petition conveys the special

concerns of its author to the government, and, in its usual form, [requests] action

by the government to address those concerns.” Id. at 388–89.

                Story has plausibly alleged that the seating limitation rule prevented

him from effectively participating in an open meeting. When the government

holds meetings that are open to public participation, excluding particular members

of the public may violate the First Amendment right to petition. See Wis. Emp.

Relations Comm’n, 429 U.S. at 175–76; Lee v. Driscoll, 871 F.3d 581, 585 (8th

Cir. 2017). Plaintiffs have stated a claim as to the Trustee Defendants and Azaiez.

II.        Fourth Amendment Claims

                Plaintiffs claim that Defendants Jeffrey Yarbrough, James Williby,

Lauren Griffith, Milton Pope, Frank Pontillo, and Samuel Chavez (collectively, the

“Officer Defendants”) violated Plaintiffs’ Fourth Amendment rights to be free

from excessive force, unreasonable seizure, and false arrest. (Dkt. # 20 ¶¶ 235–

45).

      A.        Excessive Force

                The Fourth Amendment confers a “right to be free from excessive

force during a seizure.” Poole v. City of Shreveport, 691 F.3d 624, 627 (5th Cir.

2012). To establish that a police officer violated his constitutional right to be free


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from excessive force, a plaintiff must show “(1) an injury, (2) which resulted

directly and only from a use of force that was clearly excessive, and (3) the

excessiveness of which was clearly unreasonable.” Id. at 628 (citing Ontiveros v.

City of Rosenberg, 564 F.3d 379, 382 (5th Cir. 2009)).

             Defendants argue that any injuries Story sustained during the

September Board meeting were de minimis, and that the use of force was not

clearly excessive. (Dkt. # 25 at 13.) Defendants also note that “Story never

explicitly pleads that any Officer Defendant caused his alleged injuries.” (Dkt.

# 25 at 13.) In response, Story points to the minor nature of the crime and “the fact

that he posed no threat to the officers.” (Dkt. # 29 at 14.)

             The Fifth Circuit has stated that “although a de minimis injury is not

cognizable, the extent of injury necessary to satisfy the injury requirement is

directly related to the amount of force that is constitutionally permissible under the

circumstances.” Brown v. Lynch, 524 Fed. App’x 69, 79 (5th Cir. 2013). Thus,

“[a]ny force found to be objectively unreasonable necessarily exceeds the de

minimis threshold, and, conversely, objectively reasonable force will result in de

minimis injuries only.” Byrd v. Cornelius, 52 F.4th 265, 274 (5th Cir. 2022)

(quoting Alexander v. City of Round Rock, 854 F.3d 298, 309 (5th Cir. 2017)).

“[A]s long as a plaintiff has suffered ‘some injury,’ even relatively insignificant

injuries and purely psychological injuries will prove cognizable when resulting


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from an officer’s unreasonably excessive force.” Id. (quoting Alexander, 854 F.3d

at 309).

             Viewing the facts in the light most favorable to Story, his injuries

meet Alexander’s “some injury” test. See Sam v. Richard, 887 F.3d 710, 714 (5th

Cir. 2018) (holding the same with respect to alleged injuries that caused “minor

bleeding”). Determining the reasonableness of the force used “requires careful

attention to the facts and circumstances of each particular case, including (1) the

severity of the crime at issue, (2) whether the suspect posed an immediate threat to

the safety of the officers or others, and (3) whether he is actively resisting arrest or

attempting to evade arrest by flight.” Trammell v. Fruge, 868 F.3d 332, 340 (5th

Cir. 2017) (quoting Graham v. O’Connor, 490 U.S. 386, 396 (1989)). Here, the

severity of the crime (if any—Story was not arrested) was minor and Defendants

do not contend that Story posed an immediate threat or was fleeing.

             The Court is mindful that “‘[n]ot every push or shove, even if it may

later seem unnecessary in the peace of a judge’s chambers’ . . . violates the Fourth

Amendment.” Graham v. Connor, 490 U.S. at 396 (quoting Johnson v. Glick, 481

F.2d 1028, 1033 (2d Cir. 1973)). However, Story contends that he was “slammed”

to the ground by the officers, and no allegations explain why this amount of force

was necessary. Thus, the Court finds that Story has plausibly stated a claim for

excessive force.


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             As Defendants note, however, “Story never explicitly pleads that any

Officer Defendant caused his alleged injuries.” (Dkt. # 25 at 13.) Again, “a

plaintiff bringing a section 1983 action must specify the personal involvement of

each defendant.” Murphy v. Kellar, 950 F.2d 290, 292 (5th Cir. 1992). Plaintiffs

imply that the officers were Sergeant Pope and Officer Pontillo, but do not ever

state so definitively. And even though Defendants put Plaintiffs on notice about

this issue in their Motion to Dismiss, Plaintiffs’ Response in Opposition did not

resolve the issue. In Green v. Strickland, the district court dealt with this issue by

dismissing the plaintiff’s excessive force claims with an instruction to either

identify the defendants involved in each specific alleged violation by name or

plead an inability to identify a specific defendant. No. CV 20-601, 2022 WL

855294, at *5 (W.D. La. Mar. 22, 2022). The Court dismisses Story’s excessive

force claim with this same instruction.

             Plaintiffs did specifically identify Assistant Chief Williby. According

to Plaintiffs, as Story was “bear-hugg[ed] . . . around a pole” and “slam[med]” to

the ground, Williby was watching from inside the meeting room.6 (Dkt. # 20 ¶ 80.)



6
  It appears that Plaintiffs rely on a theory of supervisory liability rather than
bystander liability for their claims against Williby—Plaintiffs make no mention of
bystander liability. But even if Plaintiffs have pleaded facts that would support a
bystander liability claim, Plaintiffs have “failed to provide clearly established law
that put the illegality of the bystander[’]s actions beyond debate” in order to
overcome Williby’s assertion of qualified immunity. Martinez v. Harris Cnty., No.

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“Under section 1983, supervisory officials are not liable for the actions of

subordinates on any theory of vicarious liability.” Thompkins v. Belt, 828 F.2d

298, 303 (5th Cir. 1987). To establish supervisor liability for constitutional

violations committed by subordinate employees, a plaintiff must show that the

supervisor acted, or failed to act, with deliberate indifference to violations of

others’ constitutional rights committed by their subordinates. Porter v. Epps, 659

F.3d 440, 446 (5th Cir. 2011).

             A supervisor is liable if he (1) “affirmatively participates in the acts

that cause the constitutional deprivation,” or (2) “implements unconstitutional

policies that causally result in the constitutional injury.” Gates v. Tex. Dep’t of

Prot. & Reg. Servs., 537 F.3d 404, 435 (5th Cir. 2008).

             Plaintiffs do not allege that Williby himself used excessive force

against Story, or that he ordered his officers to use force. The only allegation

regarding an order from Williby is that he “hastily instructed” Sergeant Chavez “to

reference a statute.” (Dkt. # 29 at 11.) And Plaintiffs have pled no facts that

Williby implemented unconstitutional policies.

             Plaintiffs also lodged a “failure to train or supervise” claim against

both Williby and Chief Yarbrough, alleging that they “were callously indifferent in



4:22-CV-00547, 2023 WL 1997118, at *9 (S.D. Tex. Feb. 14, 2023) (citing Joseph
v. Bartlett, 981 F.3d 319, 345-46 (5th Cir. 2020)).

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supervising, failing to train, or both, their subordinates as to how to investigate a

person alleged to have committed an offense, how to prepare an affidavit to apply

for and obtain a warrant, and how to execute a warrant.” (Dkt. # 20 ¶ 220.) For a

failure to supervise or train claim, the plaintiff must show that (1) the defendant

failed to supervise or train the alleged bad actor, (2) there is a causal connection

between the infringement of the plaintiff’s constitutional rights and the lack of

supervision or training, and (3) the failure to supervise or train exhibited deliberate

indifference to the plaintiff’s constitutional rights. Peña v. City of Rio Grande

City, 879 F.3d 613, 623 (5th Cir. 2018). “Relief will not typically be available

absent a showing of a pattern of constitutional violations, as opposed to a single

incident.” Parker v. Blackwell, 23 F.4th 517, 525 (5th Cir. 2022) (citing Cozzo v.

Tangipahoa Par. Council-President Gov’t, 279 F.3d 273, 286 (5th Cir. 2002)).

             Plaintiffs’ allegations are inadequate. As to training, Plaintiffs allege

that Yarbrough later admitted that “his officers only had typical municipal street

patrol training, not school resource officer training.” But Plaintiffs do not explain

the import of this, beyond stating that “a police officer dealing with public schools,

parents, and their minor children have different practices from those on patrol

looking for criminal behavior.” (Dkt. # 20 ¶ 228(h) n.48.) Plaintiffs also do not

identify previous similar incidents or allege any facts that “the alleged abusive

conduct occurred with such frequency” that Yarbrough and Williby were on notice


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that training or supervision was needed.7 Parker, 23 F.4th at 525. Thus, Story’s

claims for excessive force shall be dismissed.

    B.        Unreasonable Seizure

              Story and Clark also appear to allege that they were seized in violation

of their Fourth Amendment rights when they were removed from the meetings in

August and September, respectively. “A person has been ‘seized’ within the

meaning of the Fourth Amendment only if, in view of all of the circumstances

surrounding the incident, a reasonable person would have believed that he was not

free to leave . . . .” United States v. Mendenhall, 446 U.S. 544, 545 (1980). The

Fifth Circuit has previously stated that it was “convinced” that an interaction

between an officer and a speaker at a meeting “was a seizure under the Fourth

Amendment” when speaker was forced to leave the meeting. Heaney v. Roberts,

846 F.3d 795, 805 (5th Cir. 2017).

              Even so, the Constitution only prohibits unreasonable seizures. Terry

v. Ohio, 392 U.S. 1, 9, 88 (1968) (citing Elkins v. United States, 364 U.S. 206, 222

(1960)). As for Story, the Court cannot say that his removal was reasonable, given

the factual disputes present here. But Plaintiffs have failed to state a claim of


7
  Plaintiffs’ allegations of a failure to train or supervise on the part of Azaiez are
deficient for the same reasons. (See Dkt. # 20 ¶ 228.) For example, Plaintiffs
allege that Azaiez “failed to ensure that the District developed a multi-hazard
emergency operations plan,” (id. ¶ 144), but do not expound on the relevance of
this failure.

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unreasonable seizure as to Clark. Plaintiffs do not contend that Clark was a

recognized speaker or that he did not receive a warning, and Plaintiffs have failed

to establish that an exception to the independent intermediary doctrine applies to

the magistrate’s determination that there was probable cause to believe that Clark

hindered an official proceeding.

              Story has also only alleged the personal involvement of Officers Pope

and Pontillo. Story’s claim will be dismissed as to the remaining individual

Defendants.

   C.         False Arrest

              Citizens have a right under the Fourth Amendment to be free from

arrest unless the arrest is supported by either a properly issued arrest warrant or

probable cause. Flores v. City of Palacios, 381 F.3d 391, 402 (5th Cir. 2004). The

Officer Defendants assert Plaintiffs have not stated a valid claim for false arrest

because an “independent intermediary”—the Williamson County magistrate—

determined that probable cause existed for Plaintiffs’ arrest. (Dkt. # 25 at 9.)

              “It is well settled that if facts supporting an arrest are placed before

an independent intermediary such as a magistrate or grand jury, the intermediary’s

decision breaks the chain of causation for false arrest, insulating the initiating

party.” McLin v. Ard, 866 F.3d 682, 689 (5th Cir. 2017) (quoting Deville v.

Marcantel, 567 F.3d 156, 170 (5th Cir. 2009)). A properly secured arrest warrant


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thus will shield a defendant who has committed or initiated a false arrest; the

doctrine applies even if the officer acted with malice. Buehler v. City of

Austin/Austin Police Dep’t, 824 F.3d 548, 553–54 (5th Cir. 2016) (citing Hand v.

Gary, 838 F.2d 1420, 1427 (5th Cir. 1988)).

             However, the intermediary must be truly independent. “[T]he

initiating party may be liable for false arrest if the plaintiff shows that ‘the

deliberations of that intermediary were in some way tainted by the actions of the

defendant.’” Deville, 567 F.3d at 170 (quoting Hand, 838 F.2d at 1428 (5th Cir.

1988)). The Fifth Circuit has sometimes referred to this principle as the “taint

exception.” See McLin, 866 F.3d at 689.

             The Fifth Circuit has also recognized that a Franks claim acts as a

functional exception to the independent intermediary doctrine. Wilson v. Stroman,

33 F.4th 202, 208 (5th Cir.). “[A]n officer can be liable under Franks for

‘deliberately or recklessly’ including a material false statement or omission in a

warrant application submitted to a magistrate.” Wilson, 33 F.4th at 206 (quoting

Melton v. Phillips, 875 F.3d 256, 264 (5th Cir. 2017) (en banc)); see Franks v.

Delaware, 438 U.S. 154 (1978). Because this case involves only one intermediary,

“allegations that prove a Franks claim will do double duty as the allegations that

also establish the taint exception.” Wilson, 33 F.4th at 209–10.




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             Story and Clark were both charged with the offense of “Hindering

Proceedings by Disorderly Conduct.” According to the Texas Penal Code:

      (a) A person commits an offense if he intentionally hinders an official
          proceeding by noise or violent or tumultuous behavior or
          disturbance.

      (b) A person commits an offense if he recklessly hinders an official
          proceeding by noise or violent or tumultuous behavior or
          disturbance and continues after explicit official request to desist.

      (c) An offense under this section is a Class A misdemeanor.

Texas Penal Code § 38.13.

             Plaintiffs allege that “Azaiez arranged for the military arm of his

operation, the RRISD Officer Defendants, to create the false warrant and then

encourage the retaliatory arrests by communicating with the Williamson County

Judge and other county officials to facilitate the retaliatory arrests of Plaintiffs.”

(Dkt. # 20 ¶ 143.) Plaintiffs also state that Azaiez “communicated via text and

other means with the Williamson County Judge and other county officials to

encourage the county to arrest Plaintiffs.” (Id. ¶ 118.)

             The Complaint details the “falsehoods” or “errors” included within

the warrant affidavit for Story’s arrest.8 Defendants, meanwhile, deny that the



8
  The Court agrees with Defendants that the Malley exception to the intermediary
doctrine does not apply here. Malley would apply if the warrant affidavits
presented to the magistrate were “so lacking in indicia of probable cause as to
render official belief in its existence unreasonable.” See Malley v. Briggs, 475

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warrants contained any false information but contend that “even without the

allegedly false information, there remains sufficient undisputed content in the

warrant affidavit to support a finding of probable cause.” (Dkt. # 25 at 10.)

             Story’s warrant affidavit, which was based on the incident at the

August Board meeting, was prepared by Detective Sergeant Griffith based on

information provided to her by Sergeant Pope. The Court has reviewed the

warrant affidavit9 and finds that, setting aside the “material that is the subject of the

alleged falsity or reckless disregard,” and taking Plaintiffs’ allegations as true,

Plaintiffs have stated a plausible claim as to Story’s arrest. Plaintiffs claim that—

contrary to several statements in the affidavit—Story did not have “several

outbursts while speaking.” (Dkt. # 20 ¶ 245.) This raises a factual dispute that the

Court cannot resolve at this juncture. See Sinegal v. City of El Paso, No. EP-19-

CV-107-KC, 2020 WL 13442013, at *5 (W.D. Tex. July 6, 2020) (“Either the

allegations in [the plaintiff’s complaint] are untrue, or the allegations in the reports

and affidavits of the Officers are untrue. Such a fundamental factual dispute

cannot be resolved by the Court . . . on a motion to dismiss.”)



U.S. 335 (1986). The warrant affidavits in this case facially supply probable cause
to arrest Story and Clark.
9
  Pleadings in the Rule 12(b)(6) context include attachments to the complaint. In
re Katrina Canal Breaches Litig., 495 F.3d at 205. Plaintiffs included the warrant
affidavits as an attachment to the Complaint. (See Dkt. # 1 at 198–211.)


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             However, Plaintiffs do not allege that the warrant affidavit for Clark

contained any specific “errors” or “falsehoods.” Clark’s warrant affidavit was

prepared by Detective Sergeant Griffith based on information provided to her by

Sergeant Chavez. “[M]ere allegations of taint may be adequate to survive a motion

to dismiss where the complaint alleges other facts supporting the inference.”

McLin, 866 F.3d at 690. But Plaintiffs have not sufficiently alleged that any of the

Officer Defendants or Azaiez withheld relevant information or otherwise

misdirected the intermediary.10 See Shaw v. Villanueva, 918 F.3d 414, 418 (5th

Cir. 2019) (finding that the plaintiff did not establish an exception to the

independent intermediary doctrine because the plaintiff pleaded no specific facts

that the officers misdirected the magistrate into issuing the arrest warrant).

             In addition, in the Fifth Circuit, “a law enforcement officer ‘must have

assisted in the preparation of, or otherwise presented or signed a warrant

application in order to be subject to liability under Franks.’” Terwilliger v. Reyna,

4 F.4th 270, 283 (5th Cir. 2021) (quoting Melton v. Phillips, 875 F.3d 256, 263

(5th Cir. 2017)). If an officer does not present or sign the affidavit, liability



10
  In their Response, Plaintiffs did not meaningfully address Defendants’ assertion
that Plaintiffs did not plead facts about any false or misleading statements in the
warrant affidavit supporting Clark’s arrest. (See Dkt. # 25 at 10.) Thus, Clark’s
false arrest claim may also be dismissed on the grounds of waiver. See, e.g.,
Slaughter v. Torres, No. CV 18-362-JWD-EWD, 2023 WL 2507578, at *4–5
(M.D. La. Mar. 14, 2023).

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attaches only if the officer prepared information for use in the warrant application.

Id.

             As Defendants note, Yarbrough, Williby, Pontillo, and Chavez were

not alleged to have been involved in the warrant application process for Story’s

arrest. (Dkt. # 25 at 8.) Thus, only the claims against Griffith and Pope can

survive.

III.   Fourteenth Amendment Claim

             To maintain an equal protection claim, a plaintiff must allege and

prove that he “received treatment different from that received by similarly situated

individuals and that the unequal treatment stemmed from a discriminatory

intent.” Taylor v. Johnson, 257 F.3d 470, 473 (5th Cir. 2001). Story has plausibly

alleged that he was treated differently than other speakers at the August Board

Meeting. “Government action that suppresses protected speech in a discriminatory

manner may violate both the First Amendment and the Equal Protection Clause.”

See Schnekloth v. Deakins, No. 21-CV-5131, 2022 WL 1050380, at *7 (W.D. Ark.

Apr. 7, 2022) (quoting Dariano v. Morgan Hill Unified Sch. Dist., 767 F.3d 764,

779 (9th Cir. 2014)).

             As noted above, Story alleges that, unlike other speakers who deviated

from the posted agenda items to speak about Azaiez, he alone—due to his status as

a vocal critic of the Board—was “dragged from the podium by police” and


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expelled from the meeting at the direction of President Weir. (Dkt. # 20 ¶ 40.)

“Even if [Defendants] possess a legitimate government interest in removing

disruptive participants from school board meetings, the legitimacy of their decision

to remove Plaintiff from the [August 16] school board meeting cannot be resolved

at this stage.” Miller v. Goggin, No. CV 22-3329-KSM, 2023 WL 3294832, at

*22–23 (E.D. Pa. May 5, 2023) (citing Montanye v. Wissahickon Sch. Dist., 327 F.

Supp. 2d 510, 520 (E.D. Pa. 2004)). Taking the pleaded facts as true and viewing

them in the light most favorable to Plaintiffs, Story has stated a plausible equal

protection “class-of-one” claim.

             However, Story has only pled the personal involvement of President

Weir, Sergeant Pope, and Officer Pontillo in Story’s ejection from the meeting.

This claim is thus dismissed as to the remaining individual Defendants.

IV.   Monell Claims

             “A municipal entity, such as an independent school district, cannot be

held vicariously liable under § 1983 for the individual acts of its employees.”

Maxwell v. Mesquite Indep. Sch. Dist., No. 3:20-CV-3581-S, 2021 WL 4260756,

at *2–3 (N.D. Tex. Sept. 19, 2021); see Monell v. New York City Dep’t of Soc.

Servs., 436 U.S. 658 (1978). To impose § 1983 liability on the District, Plaintiffs

must show (1) an official policy or custom; (2) a policymaker who can be charged

with actual or constructive knowledge of the policy; and (3) a violation of


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constitutional rights whose “moving force” is the policy or custom. See Piotrowski

v. City of Houston, 237 F.3d 567, 578 (5th Cir. 2001). “Under Texas law, the final

policymaking authority in an independent school district rests with the

district’s board of trustees.” Maxwell, 2021 WL 4260756, at *2–3 (N.D. Tex.

Sept. 19, 2021) (citing Eugene v. Alief Indep. Sch. Dist., 65 F.3d 1299, 1304 (5th

Cir. 1995).

   A.         Board policy or custom

              The Fifth Circuit has defined an “official policy” that can lead to

liability on the part of a governmental entity as:

        1. A policy statement, ordinance, regulation, or decision that is
        officially adopted and promulgated by the municipality’s lawmaking
        officers or by an official to whom the lawmakers have delegated
        policy-making authority; or
        2. A persistent, widespread practice of city officials or employees,
        which, although not authorized by officially adopted and promulgated
        policy, is so common and well settled as to constitute a custom that
        fairly represents municipal policy. Actual or constructive knowledge
        of such custom must be attributable to the governing body of the
        municipality or to an official to whom that body had delegated policy-
        making authority.

Shemwell v. Cannon, 352 F. Supp. 3d 690, 698–99 (N.D. Tex. 2019) (quoting

Bennett v. City of Slidell, 735 F.2d 861, 862 (5th Cir. 1984) (per curiam)).

              Defendants admit that the limited public comment rule in BED

(Local) and the seating limitation rule “are claims involving Board action for

which the District could be held liable under section 1983 if Plaintiffs could show


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they caused a violation of their constitutional rights.” (Dkt. # 27 at 15.) The Court

has already found that Plaintiffs’ facial challenge to BED (Local) cannot survive a

motion to dismiss, but that the challenge to the seating limitation rule does. A

claim thus survives against the District.

               Defendants also contend that “[t]he Complaint pleads no fact

regarding a widespread practice or custom of such violations.” (Id.) The Court

agrees that Plaintiffs have failed to allege sufficient facts regarding a widespread

custom or practice. (Indeed, Story’s as-applied challenge to BED (Local) and

Fourteenth Amendment “class-of-one” claim turn on his allegation that he was the

only person ejected from the August meeting.)

             “To prevail on a widespread practice or customary policy claim,

[Plaintiffs] must ultimately prove a pattern of similar unconstitutional acts that

‘have occurred for so long and with such frequency that the course of conduct

demonstrates the governing body’s knowledge and acceptance of the disputed

conduct.’” Sinegal, 414 F. Supp. 3d at 1009 (quoting Zarnow v. City of Wichita

Falls, Tex., 614 F.3d 161, 169 (5th Cir. 2010)). In other words, a pattern “requires

‘sufficiently numerous prior incidents,’ as opposed to ‘isolated instances.’” “A

pattern also requires similarity and specificity.” Id. Because Plaintiffs have not

identified similar prior incidents, claims against the District that rely on a

widespread practice or customary policy will be dismissed.


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   B.        Failure to supervise or train

             Plaintiffs also do not state a claim against the District based on a

failure to train or supervise. “A municipality’s culpability for a deprivation of

rights is at its most tenuous where a claim turns on a failure to train.” Connick v.

Thompson, 563 U.S. 51, 61 (2011).

             As noted previously, to state a claim based on a failure to supervise or

train, Plaintiffs must show that (1) the supervisor failed to supervise or train the

subordinate official; (2) a causal link exists between the failure to train or supervise

and the violation of the plaintiff’s rights; and (3) the failure to supervise or train

amounts to deliberate indifference. Gates, 537 F.3d at 435. As with a widespread

practice claim, allegations of multiple incidents of fairly similar unconstitutional

conduct are typically necessary to survive dismissal. See Speck v. Wiginton, 606

F. App’x 733, 736 (5th Cir. 2015) (citing Connick, 563 U.S. at 62). To establish

deliberate indifference, Plaintiffs must show that (1) the supervisor had “actual or

constructive notice that a particular part or omission in a training or supervision

program causes . . . employees to violate citizens’ constitutional rights,” and (2)

nonetheless chose to retain the program. Porter, 659 F.3d at 447 (quoting Connick,

563 U.S. at 61).

             The Court agrees with Defendants that Plaintiffs’ allegations “are

unsupported, conclusory assertions that the District needed more training regarding


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arrests, warrants, and general police conduct.” (Dkt. # 27 at 17.) The Complaint

lacks well-pleaded facts as to the Board’s awareness of a deficiency in its training

or a pattern of similar violations such that the Board should have been on notice.

V.        Immunity and Individual Liability

                All individual Defendants assert the defense of qualified immunity;

the Trustee Defendants and Azaiez also assert absolute immunity.

     A.         Absolute Immunity

                The Trustee Defendants and Azaiez assert that they are entitled to

absolute legislative immunity. (Dkt. # 26 at 4–5.) “Legislative immunity protects

officials fulfilling legislative functions even if they are not ‘legislators.’” Bryan v.

City of Madison, 213 F.3d 267, 272 (5th Cir. 2000). In determining whether

legislative immunity applies, courts have distinguished between (1) establishing a

policy, act, or law, and (2) enforcing or administering it. Hughes v. Tarrant Cnty.,

948 F.2d 918, 920 (5th Cir. 1991). The Fifth Circuit “uses two tests to determine

whether a defendant’s actions were ‘functionally legislative’ so as to warrant

protection under the doctrine of absolute legislative immunity.” Gatehouse Water

LLC v. Lost Pines Groundwater Conservation Dist., No. A-22-CV-00132-LY,

2022 WL 3362287, at *3 (W.D. Tex. Aug. 15, 2022) (citing Hughes, 948 F.2d at

920)).




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             The first test examines the nature of the underlying facts used to reach

the challenged action or decision: the action is legislative if the underlying facts on

which the decision is based pertain to “legislative facts” like “generalizations

concerning a policy or state of affairs,” and the action is not legislative “if the

underlying facts are more specific and relate to a particular individual or situation.”

Id. (citing Hughes, 948 F.2d at 920)). The second test focuses on the “particularity

of the impact” of the challenged action or decision: “[i]f the action involves

establishment of a general policy, it is legislative,” but “[i]f the challenged action

or decision singles out ‘specific individuals and affect[s] them differently from

others, it is administrative.’” Id. (quoting Hughes, 948 F.2d at 920)).

             Applying the tests to the facts, the Court finds that the Trustee

Defendants and Azaiez are entitled to legislative immunity with respect to the

limited seating rule. But the enforcement of BED (Local) was not based on

legislative facts and did not purport to establish a general policy. See Hughes, 948

F.2d 921 (5th Cir. 1991). There is no entitlement to absolute legislative immunity

for that decision.

   B.        Qualified Immunity

             When the defense of qualified immunity is raised via a Rule 12(b)(6)

motion, it is the defendant’s conduct as alleged in the complaint that is scrutinized

for purposes of the qualified immunity analysis. See Behrens v. Pelletier, 516 U.S.


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299, 309 (1996). A defendant cannot succeed on a qualified immunity defense at

this stage if the pleadings on their face show an unreasonable violation of a clearly

established constitutional right. Shipp v. McMahon, 234 F.3d 907, 912 (5th Cir.

2000), overruled on other grounds, McClendon v. City of Columbia, 305 F.3d 314

(5th Cir. 2002)).

             The remaining claims that survive Defendants’ Motions to Dismiss—

certain of Story’s First and Fourth Amendment claims, as well as his Fourteenth

Amendment claim—involve issues of factual interpretation. Where claims against

individual Defendants are proceeding, this Court will revisit the application of

qualified immunity at the summary judgment stage on a complete record.

VI.   Conspiracy Claim

             “To state a claim under 18 U.S.C. § 1985(3), a plaintiff must allege

(1) a conspiracy involving two or more persons; (2) for the purpose of depriving

directly or indirectly, a person or class of persons of the equal protection of the

laws; and (3) an act in furtherance of the conspiracy; (4) which causes injury to a

person or property, or a deprivation of any right or privilege of a citizen of the

United States.” Texas Democratic Party v. Abbott, 961 F.3d 389, 410 (5th Cir.

2020) (quoting Hillard v. Ferguson, 30 F.3d 649, 652–53 (5th Cir. 1994)). The

facts alleged in the complaint must show the conspiracy was motivated by racial or




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class-based animus. Horiast v. Doctor’s Hosp. of Opelousas, 255 F.3d 261, 271

(5th Cir. 2001).

             “A conclusory allegation of agreement at some unidentified point

does not supply facts adequate to show illegality.” Terwilliger v. Reyna, 4 F.4th

270, 285 (5th Cir. 2021) (citing Twombly, 550 U.S. at 557, 127 S. Ct. at 1966); see

also Arsenaux v. Roberts, 726 F.2d 1022, 1024 (5th Cir. 1982) (holding that

conclusory allegations of conspiracy, without reference to material facts, could not

survive a motion to dismiss). Although Plaintiffs’ Complaint is riddled with

allegations of conspiracy, it has not sufficiently pled facts from which a

conspiratorial agreement to violate Plaintiffs’ constitutional rights can be plausibly

inferred. (See Dkt. # 20 ¶ 249) (“At all times, various groups of Individual

Defendants acted in concert, both privately and overtly, with a meeting of the

minds, to oppress the civil rights of Plaintiffs and are liable under 42 U.S.C. § 1985

for such violations.”). Nor have Plaintiffs alleged that Defendants acted out of a

race- or class-based animus.11 Plaintiffs’ § 1985(3) claims must be dismissed.


11
  As Defendants point out, Plaintiffs also may have not stated a claim because the
Fifth Circuit has held that “a school board and its employees constitute a single
legal entity which is incapable of conspiring with itself for the purposes of §
1985(3).” Hilliard v. Ferguson, 30 F.3d 649, 653 (5th Cir. 1994). But see Hill v.
City of Houston, 991 F. Supp. 847, 851 (S.D. Tex. 1998) (stating that the court was
“unconvinced, for purposes of a Rule 12(b)(6) Motion to Dismiss, that the single
entity doctrine should be applied to preclude Plaintiffs’ conspiracy claims” where
three separate departments of the City of Houston were alleged to have conspired
with each other).

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VII. Texas Open Meetings Act Claims

             Finally, Defendants argue that the Complaint fails to state a TOMA

violation. Plaintiffs allege that the Board violated TOMA by “secretly hiring

Azaiez” and restricting public attendance at the September 14 Board meeting

through the limited seating rule. (Dkt. # 28 at 16.)

             The Court finds that Plaintiffs have not stated a claim that the Board

violated TOMA with respect to Azaiez’s hiring.

             Plaintiffs claim that the language of the notice, which provided that

the Board would “deliberate applicants for Superintendent, including the

possibility of naming finalists for the position,” did not provide sufficient notice to

the public that the Board would name Azaiez as the sole finalist and authorize

Weir to negotiate a contract with Azaiez. (Dkt. # 20 ¶ 252.) The Texas Supreme

Court has held that notices of meetings of governmental bodies must provide “full

and adequate notice, particularly where the subject slated for discussion [is] one of

special interest to the public”—for instance, the selection of a new school

superintendent. Cox Enters., Inc. v. Bd. of Trustees of Austin Indep. Sch. Dist.,

706 S.W.2d 956, 959 (Tex. 1986). But Texas case law is also clear that “although

the reader needs to know the topic of discussion, the notice need not state all of the

possible consequences resulting from consideration of the topic.” Washington v.

Burley, 930 F. Supp. 2d 790, 807 (S.D. Tex. 2013) (quoting Rettberg v. Tex. Dep’t


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of Health, 873 S.W.2d 408, 411 (Tex. App.—Austin 1994, no writ)). “[T]hat

better language could have been chosen to describe the subject of the Meeting does

not mean the language actually used is inadequate under Texas law.”12 Palacios v.

City of Crystal City, No. DR-11-CV-53-AM-VRG, 2014 WL 11320459, at *6

(W.D. Tex. Sept. 30, 2014), aff’d sub nom. Palacios v. City of Crystal City, 634 F.

App’x 399 (5th Cir. 2015) (citations omitted). The Court finds that the language of

the notice in this case adequately alerts the reader to the subject of discussion. And

Plaintiffs’ arguments regarding a “walking quorum” do not contain any well-

pleaded facts that a quorum of the Board met, considered, deliberated, or voted

regarding Azaiez’s employment outside of a properly noticed public meeting.

             However, the Court finds that Plaintiffs plausibly state a claim that

Defendants violated TOMA with respect to the limited public seating rule. In

addition to adequate notice of meetings, TOMA requires “[e]very regular, special,

or called meeting” of a school district board of trustees to “be open to the public,

except as provided by this chapter.” TEX. GOV’T CODE §§ 551.002, 551.001(3)(E).

Plaintiffs allege specifically that the Board called for a vote on an item that was not


12
  For example, in Sokolow v. City of League City, notice that the city council
would “[d]iscuss and possibly take action on the duties, responsibilities of the City
Attorney,” was found to be “sufficient notice of the various consequence[s],
including termination, which might naturally flow from such a discussion.” 37
F.Supp.2d 940, 947 (S.D.Tex.1999). But a notice merely describing the topic as
“personnel” does not provide adequate notice that the subject to be discussed is the
selection of a new school superintendent. Cox, 706 S.W.2d at 959.

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properly noticed and prevented attendees from entering the meeting. (Dkt. # 28 at

19.)

                                  CONCLUSION

             For the foregoing reasons, the Court GRANTS IN PART and

DENIES IN PART Defendants’ Motions to Dismiss (Dkts. ## 25, 26, 27), and

DENIES WITHOUT PREJUDICE Plaintiff’s Application for Preliminary

Injunctive Relief (Dkt. # 20).

             Plaintiffs have leave to file a second amended complaint, should they

choose to do so, within thirty (30) days of the date of this Order. Plaintiffs are

cautioned that, in filing an amended complaint, Plaintiffs must present facts to

support any allegations made.

             IT IS SO ORDERED.

             DATED: Austin, Texas, July 26, 2023.




                                           ______________________________________
                                           David Alan Ezra
                                           Senior United States District Judge




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